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                                         FILED UNDER SEAL

                                                                                   FILED

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION                               ^ p U-U5


    THOUSAND OAKS BARREL CO.LLC
    a Virginia Limited Liability Company,

                        Plaintiff,


     V.                                                  Civil Action No.




    THE UNINCORPORATED ASSOCIATIONS
    IDENTIFIED IN SCHEDULE A,

                         Defendants.




                                      VERIFIED COMPLAINT




           Plaintiff Thousand Oaks Barrel Co., LLC ("Thousand Oaks"), by its undersigned

    counsel, alleges as follows for its Complaint against Defendants in Schedule "A."

                                  THE NATURE OF THIS ACTION


           1.      Thousand Oaks brings this action against Defendants pursuant to 35 U.S.C. §101

    et. seq. and §§271,281,283,284,& 285 inclusive, for infringement of one or more claims of U.S.

    Patent No. 11,744,256 B2("the '256 Patent") titled "Device and method for Imparting Smoked

    Flavors to Beverages and Foodstuffs". The '256 Patent protects the products of Plaintiff that are

    used to add smokey flavors to cocktails and other beverages, and foods. A true and correct copy

    of the '256 Patent is attached as Exhibit A.


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                                         THE PARTIES




       2.      Thousand Oaks Barrel Co., LLC is a Virginia Limited Liability Company that

maintains a principal place of business at 9113 Euclid Avenue, Manassas, VA 20110. Plaintiff is

the exclusive licensee ofthe '256 Patent with the right to enforce its claims.

       3.      Defendants identified in Schedule "A" are all believed to be individuals,

companies, and unincorporated business associations who, upon information and belief, reside in

both domestic and foreign jurisdictions. Defendants sell Accused Products on Amazon.com and

Etsy.com retail platforms. Since Amazon.com and Etsy.com do not require the true names and

contact information of sellers to be posted publicly, and sellers may publicly use fictitious names,

the public seller names used on online retail stores are unreliable. The true names, identities, and

addresses of Defendants are currently unknown.

       4.      Defendants conduct their operations through fully interactive commercial websites

hosted on various Amazon.com and Etsy.com storefront webpages("Infringing Webstores"). Each

Defendant targets consumers in the United States, including the State of Virginia, and has offered

to sell and,on information and belief, has sold and continues to sell products("Accused Products")

that practice the claims of the '256 Patent to consumers within the United States, including the

State of Virginia and Eastern District of Virginia. For example, the Accused Products may be

purchased by Virginia residents using the Amazon "Prime" online order system and delivered by

an Amazon Prime delivery vehicle in this district. Additionally, Etsy.com defendants offer

shipping throughout the United States, including into this District.

        5.     Defendants from outside the United States have the capacity to be sued pursuant to

Federal Rule of Civil Procedure 17(b).

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       6.       Through their operation of the Infringing Webstores, Defendants are directly and

personally engaging in the importation, offer for sale, and sale of Accused Products as alleged,

oftentimes as partners and/or suppliers. On information and belief. Defendants may intentionally

or otherwise conceal their identities and the full scope oftheir infringing operations in an effort to

deter Plaintifffrom learning Defendants' true identities and the exact interworking ofDefendants'

infringing acts.

                                   JURISDICTION AND VENUE




       7.       This is an action for patent infringement arising under the laws ofthe United States,

35U.S.C. §271etseq.

       8.       This Court has subject matter jurisdiction over this action pursuant to 35 U.S.C.

§§271,281 and 28 U.S.C. §§1331 and 1338(a), federal question.

        9.      This Court has personal jurisdiction over U.S. based Defendants in that they

transact business in the State of Virginia and in the Eastern District of Virginia.

        10.     This Court has Personal jurisdiction over non-U.S. based Defendants because they
have supplied their products into this district and under the Federal Long Arm Rule,FRCP
4(k)(2)

(k)Territorial Limits ofEffective Service(2)Federal Claim Outside State-Court Jurisdiction.
For a claim that arises under federal law, serving a summons or filing a waiver of service
establishes personal jurisdiction over a defendant if:

(A)the defendant is not subject to jurisdiction in any state's courts of general jurisdiction; and

(B)exercising jurisdiction is consistent with the United States Constitution and laws.

          11.      Venue is proper in this District pursuant to §§1391(b), 1391(c)and 1400(b)in that

the U.S. based Defendants are entities or individuals subject to personaljurisdiction in this District.
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Venue is also proper in this District because a substantial part of the events or omissions giving

rise to the claims occurred in this District and Defendants directly target business activities towards

consumers in the State of Virginia. Defendants are doing business in this judicial district and have

committed acts ofinfringement in this District.

        12.     Venue is proper in this Court against non-U.S. based Defendants under 28 U.S.C.

§ 1391 (c)(3) and 28 U.S.C. § 1400(b) based on information set forth herein, which is hereby

repeated and incorporated by reference. For purposes of venue regarding cases against foreign

corporations, general federal statutes are applicable. This Court is a proper venue for a case against

non-U.S. based Defendants in any judicial district in any state to which it is subject to personal

jurisdiction.

        13.     This Court has personal jurisdiction over Defendants and venue is proper pursuant

to Va. Code Ann. § 8.01-328.1 (1950). Personal jurisdiction exists over Defendants because

Defendants have minimum contacts with this forum as a result of business regularly conducted

within the Commonwealth of Virginia and within this district, and, on information and belief,

specifically as a result of, at least, committing the tort of patent infringement within Virginia and

this District. This Court has personal jurisdiction over Defendants, in part, because Defendants do

continuous and systematic business in this District, including by providing Accused Products and

services to the residents of the Eastern District of Virginia through fully interactive websites that

allow Accused Products to be purchased by Virginia residents and shipped to addresses in Virginia.

Defendants knew the Accused Products would be used within this District, and have solicited

business from the residents ofthe Eastern District ofVirginia using the Amazon.com and Etsy.com

e-commerce platforms.

                              BACKGROUND AND GENERAL ALLEGATIONS

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       14.     Plaintiff is the manufacturer of the FOGHAT product lines, a unique product that

allows professional bartenders and home users alike to add flavor to cocktails and foods via sources

of smoke. Thousand Oaks manufactures, markets, sells and distributes various products under a

trademark for "Foghat Cocktail Smoker," domestically and internationally, including within the

Eastern District ofVirginia(collectively,"Plaintiffs Products")that are commercial embodiments

made under the exclusively licensed patent identified in Paragraph 1, above. Defendants have

flooded the online market with sales of Accused Products in violation of Plaintiffs intellectual

property rights and have irreparably damaged,and are continuing to irreparably damage. Plaintiff.

       15.     Plaintiffs Foghat Cocktail Smoker Products are recognized around the world as a

quality product used to add smoke flavor to cocktails and other beverages. As detailed below.

Plaintiff has been selling its products in interstate and foreign commerce,including commerce in

Virginia and the Eastern District of Virginia.

        16.    Plaintiff maintains quality control standards for all of its products sold under the

Foghat brand. Genuine Plaintiffs Products are distributed through a network of licensees,

distributors and retailers, via reseller webstores and through Plaintiffs own website in Virginia,

www.1000oaksbarrel.com. Prior to the flood of Accused Products entering the market, sales of

Plaintiffs Products via legitimate webstores represented a significant portion of Plaintiffs

business.


        17.    Upon information and belief, many of the Accused Products are manufactured by

factories based in China and sold wholesale either directly or through China-based e-commerce

Intemet websites. For example, sellers on Amazon.com purchase Accused Products in bulk from

the factory or the Chinese e-commerce sites to sell on Infringing Webstores. In 2023, Plaintiffs

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chiefexecutive officer has personally met a Chinese factory owner at a convention in Chicago,IL,

who was offering for sale products at wholesale that were manufactured at the factory in China

that would fall under the claims ofthe '256 Patent.

       18.    On September 5,2023, United States Patent No. 11,744,256, entitled "Device and

Method for Imparting Smoked Flavors to Beverages and Foodstuffs" was duly and legally issued

by the USPTO.The'256 Patent claims patent-eligible subject matter and is valid and enforceable.

Soak Limited, London, Great Britain, is the exclusive owner by assignment. Plaintiff is the

exclusive licensee of the '256 Patent including the right to bring this suit for injunction and

damages, and including the right to sue and recover all past, present, and future damages for

infiingement of the '256 Patent. Defendants are not licensed to the '256 Patent, either expressly

or implicitly, nor do they enjoy or benefit from any rights in or to the '256 Patent whatsoever. A

true and correct copy ofthe '256 Patent is attached hereto as Exhibit A.

       19.     The '256 Patent is presumed valid imder 35 U.S.C. § 282.

                                         THE PATENT




       20.     The claims ofthe'256 Patent are directed to"a device for imparting smoked flavors

to beverages and foodstuffs." The '256 Patent contains nineteen claims directed to the device,

where claims 1,9, and 10 are independent claims. Claim 1 ofthe '256 Patent recites:

                       1. A device for imparting smoked flavors to beverages and foodstuffs,
               comprising:
                      a base having a fuel chamber portion at its upper end and
                      a conduit portion at its lower end, the fuel chamber portion comprising an
               upper wall portion defining a perimeter edge ofthe fuel chamber portion and a floor
               defining a bottom end, the floor extending from the upper wall portion to an
               opening in the floor,
                     wherein the fuel chamber portion is oriented to hold fuel, and
                       wherein the conduit portion is disposed below the floor and comprises a
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               channel through the conduit portion so that, when the fuel in the fuel chamber
               portion is ignited, the channel facilitates flow of smoke down-ward from the fuel
               chamber portion through at least one aperture that extends from the channel space
               through a wall ofthe conduit portion.


                                       INFRINGEMENT


       21.     Defendants manufacture, import, offer to sell, and sell various smoker devices for

imparting smoked flavors to cocktail beverages and foods. These devices are sold on the

Amazon.com platform and other Internet platforms using Infnnging Webstores.

       22.     Defendants have, under 35 U.S.C. §271(a), directly infringed, and continue to

directly infringe, literally and/or under the doctrine ofequivalents, one or more claims ofthe '256

Patent by making, using, testing, selling, offering for sale and/or importing into the United States

the Accused Products.

       23.     Defendants also indirectly infringe the '256 Patent by actively inducing the direct

infringement by third parties under 35 U.S.C. §271(b). Defendant has knowingly and intentionally

actively aided, abetted and induced others to directly infiinge at least one claim ofthe '256 Patent,

including their customers throughout the United States. Defendants continue to induce

infringement ofthe '256 Patent.

       24.     Plaintiff has conducted a detailed analysis, establishing and confirming that

Defendants' Accused Products directly infringe claims of the '256 Patent. The accused products

come in one of three different structural configurations. Each configuration includes all of the

claimed elements: a base with a fuel chamber, a conduit portion an upper wall and a floor, where

the conduit portion has a channel and an aperture in a wall of the conduit portion. Attached as

Exhibits B, C, and D to the Complaint are exemplary claim charts demonstrating the

correspondence of the accused products with each of the three configurations of the Accused

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Products with elements of claim 1 of the '256 Patent. The charts are submitted as examples of

each of the three types of functional designs of Defendants, and Plaintiff reserves the right to

modify the charts as part ofPlaintiffs infringement contentions.

       25.    Configuration 1 applies the device in Exhibit B, has holes in the side wall of the

conduit and corresponds in structure to Figure 5C ofthe '256 Patent.

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       26.     Configuration 2 applies to the device in Exhibit B and includes one hole in the

bottom wall ofthe conduit portion, is as illustrated in below:

                                          Channel
                                  Floor


                                                                                   Fuel Chamber


    Base
                                                                           ]          Portion


                                                                                  Conduit Portion
                                                                          ]
                                                 Aperture
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       27.       Configuration 3 includes multiple holes in the bottom wall ofthe conduit:

                                                              Opening
                                                                    Upper
                                                         Channel i    Wall
                                                 Floor



                                                                                           Fuel Chamber
                                                                                              Portion

                      Base
                                                                                           Conduit Portion



                                                             \ Aperture extends from
                               Conduit Portion
                                                              ^channel through
                                                                       .
                                                                               a wall of
                                                                     conduit portion
                                    Wall




       28.       Defendants and their customers have continued infnngement.

       29.       Plaintiff is the exclusive licensee ofthe '256 Patent with the right to enforce the

'256 Patent.

       30.       Defendants have infiinged, and continue to infiinge, at least claims 1 -19 ofthe

'256 Patent imder 35 U.S.C. § 271(a)and/or (b), by(a) making, using, offering to sell, selling

and/or importing into the United States, devices for imparting smoked flavors to beverages and

foodstuffs, that infiinge the asserted claims in the United States, or(b)by inducing others to use

the Accused Products and/or sell the Accused Products in the United States. Defendants continue

to manufacture, use, offer to sell, sell and import Accused Products. The Accused Products are

also being used to infiinge. Defendants continue to sell Accused Products inducing infringement

by others and also continue to perform infringing activity by using the claimed devices in the

United States.
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       31.      The Accused Products are infringing devices and thus directly infringe '256

Patent claims 1-19. The devices include a base having a fuel chamber portion and conduit

portion with a channel to an aperture, where when the fuel in the fuel chamber portion is ignited,

the channel facilitates flow ofsmoke downward from the fuel chamber portion through the

aperture and thus directly, and indirectly by inducement, infringe claims 1-19 ofthe '256 Patent.

          32.   The '256 Patent is also infnnged under 35 USC § 271(a) when an accused product

is "used" by Defendant to impart smoked flavors to beverages and foodstuffs; the '256 Patent is

infnnged imder 35 USC § 271(b) when Defendants "induce" others to use the Accused Products

to impart smoked flavors to beverages and foodstuffs.

          33.   Upon information and belief. Defendant has directly infnnged one or more of

claims ofthe '256 Patent under 35 USC §271(a):

                 "(a) Except as otherwise provided in this title, whoever without authority
                 makes, uses, offers to sell, or sells any patented invention, within the United
                 States or imports into the United States any patented invention during the term
                 ofthe patent therefor, infnnges the patent.

by engaging in accused activity including making,using, offering to sell, selling and importing

Accused Products in the United States. Defendants continue to infringe claims ofthe '256

Patent.


          34.   34.    Upon information and belief. Defendants have indirectly infringed one or

more ofthe claims ofthe '256 Patent under 35 USC §271(b):

               (b) Whoever actively induces infringement of a patent shall be liable as an
               infnnger.
by providing accused products, with instructions, which are used for imparting smoked flavors to

beverages and foodstuffs, thereby inducing others to use the Accused Products.




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       35.     Defendants do not have a license or authority to import, make, use, or sell goods

under the '256 Patent.


       36.     Plaintiff has marked its smoker device products with notices of the '256 Patent.

Upon information and belief. Defendants have no good faith defense to Plaintiffs infringement

allegations.

       37.     37.       As a result of Defendants' infringement of the '256 Patent, Plaintiff has

suffered and will continue to suffer damages in an amount not yet determined, of at least a

reasonable royalty.

       38.     38.       Defendants, without authorization or license from Plaintiff, continue to

infringe the claims ofthe '256 Patent in connection with the advertisement, offer for sale, and sale

ofthe Accused Products,through,inter alia,the Internet. Each Infnnging Webstore offers shipping

to the United States, including Virginia, and, on information and belief, each Defendant has sold

Accused Products into the United States, including Virginia. The Defendants are continuing to

offer to sell and sell Accused Products at least via Amazon.com and Etsy.com.

       39.     Defendants have been willfully infringing the '256 Patent since at least as early as

they became aware ofthe '256 Patent. On information and belief. Defendants have no good faith

defense to Plaintiffs infringement allegations and have refused to cease selling products or to

engage in further attempts to reach a business resolution. Instead, Defendants have intentionally

continued their knowing infnngement.

        40.    Many sellers on Amazon.com and Etsy.com go to great lengths to conceal their true

identities and often use multiple fictitious names and addresses to register and operate the

Infringing Webstores. For example, on information and belief. Defendants regularly create new

Webstores on the Amazon.com platform using the identities listed in Schedule A to the Complaint,

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as well as other unknown fictitious names and addresses. Such registration patterns are one of

many common tactics used by the Defendants to conceal their identities and the full scope and
interworking oftheir operations and to prevent the Infnnging Webstores from being disabled.
       41.    Upon information and belief. Defendants will continue to register or acquire listings

for the purpose ofselling Accused Products that infringe upon the '256 Patent unless preliminarily

and permanently enjoined.

       42.     Plaintiff has no adequate remedy at law.

                                         COUNT ONE
              INFRINGEMENT OF UNITED STATES Patent No. 11,744,256
                              (35 U.S.C.§ 271)


       43.     51.    The allegations of each of the paragraphs above are hereby re-alleged and

incorporated herein by reference

       44.     Defendants have infringed, and continue to directly infiinge, at least claims 1-19 of

the '256 Patent under 35 U.S.C. § 271(a), by making,using, offering to sell, selling and importing

the Accused Products in the United States.

       45.     Upon information and belief. Defendants have indirectly infnnged one or more of

the claims of the '256 Patent under 35 USC §271(b) by providing Accused Products, with

instructions, which are used to impart smoky flavors to beverages and foodstuffs,thereby inducing

others to use the Accused Products in an infnnging manner.

       46.     As a result of Defendants' infringement of the '256 Patent, Plaintiff has suffered

and will continue to suffer damages in an amount not yet determined, of at least a reasonable

royalty.

       47.     Defendants will continue to register or acquire listings for the purpose of selling


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Accused Products that infringe upon the '256 Patent unless preliminarily and permanently

enjoined.

       48.     The Defendants have infringed the '256 Patent through the aforesaid acts and will

continue to do so unless enjoined by this Court. Defendants' wrongful conduct have caused

Plaintiff to suffer irreparable harm resulting from the loss of its lawful patent rights to exclude

others from making,using,selling, offering for sale, and importing the patented invention. Plaintiff

is entitled to injunctive relief pursuant to 35 U.S.C. § 283.



                                        PRAYER FOR RELIEF


       For ajudgment declaring that Defendants have infnnged the '256 Patent;

       For ajudgment declaring that Defendants'infringement ofthe'256 Patent has been willful;

       For a grant of a preliminary and permanent injunction pursuant to 35 U.S.C. §283,

enjoining the Defendant from further acts ofinfringement;

       For a judgment awarding Plaintiff compensatory damages as a result of Defendants'

infringement sufficient to reasonably and entirely compensate Plaintiff for infnngement of the

'256 Patent in an amount to be determined at trial;

       For ajudgment and order awarding a compulsory ongoing royalty;

        For a judgment declaring that Defendant's infringement was willful and for enhancement

of damages in accordance with 35 U.S.C. § 284;

        That Defendants,their officers, agents, servants, employees, attorneys, confederates,

        and all persons in active concert with them be temporarily, preliminarily, and permanently

enjoined and restrained from:

        using the Plaintiffs Trade Dress or products made under the or Patents-in-Suit, or any

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reproduction, counterfeit, copy, or colorable imitation of the Plaintiffs Trade Dress or products

under the Patents-in-Suit in connection with the distribution, advertising, offer for sale, and/or sale

of merchandise not the genuine products ofthe Plaintiff;

       passing off, inducing, or enabling others to sell or pass off any Counterfeit Products as

genuine products made and/or sold by the Plaintiff;

       committing any acts calculated to cause consumers to believe that Defendants' Products

are those sold under the authorization, control, or supervision of Plaintiff, or are sponsored by,

approved by, or otherwise connected with Plaintiff;

       further infringing the Plaintiffs Patents-in-Suit or Trade Dress and damaging Plaintiffs

goodwill;

        competing unfairly with Plaintiff in any manner;

        shipping, delivering, holding for sale, distributing, returning, transferring or otherwise

moving, storing, or disposing of in any manner products or inventory not manufactured by or for

Plaintiff, nor authorized by Plaintiff to be sold or offered for sale, and that bear the Designs or

Marks or any reproductions, counterfeit copies, or colorable imitations thereof;

        using, linking to, transferring, selling, exercising control over, or otherwise owning or

operating the Infringing Webstores, listings, or any other domain name that is being used to sell

or is the means by which Defendants could continue to sell Products violating Thousand Oaks'

Trade Dress or infringing the Patents-in-Suit;

        For such other relief to which Plaintiff is entitled under the applicable United States laws

and regulations or as this Court deemsjust and proper.




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                                   DEMAND FOR JURY TRIAL


        Pursuant to the Federal Rules of Civil Procedure Rule 38(b),Plaintiff hereby demands trial

by jury as to all claims in this litigation.



        Date: June 4,2024                                   Respectfully submitted,

                                                              /s/   Kendal M. Sheets
                                                            Kendal Sheets(VSB No. 44537)
                                                            ksheets@dnlzito.com
                                                            Tel: 703-489-8937
                                                            Joseph J. Zito {pro hac pending
                                                            jzito@dnlzito.com
                                                            Tel.(202)466-3500
                                                            DNL ZITO CASTELLANO PLLC
                                                            1250 Cormecticut Avenue, NW
                                                            Suite 700
                                                            Washington,DC 20036
                                                            Fax:(703)997-7534

                                                            Attorneysfor Plaintiff

Verified by:
                Bryan WeisBei^
                CEO,Thousand Oaks Barrel Co. LLC




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION
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 THOUSAND OAKS BARREL CO.LLC
 a Virginia Limited Liability Company,

                   Plaintiff,


 V.                                             Civil Action No.




 THE UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE A,

                     Defendants.




                                     SCHEDULE A


                                     AMAZON.COM


                                                                    ASIN
      Def.                                                         PRODUCT
      No.    Amazon Seller Name        Amazon Seller ID No.        NUMBER

       1     Bashu Store Corp       A1ZTCB7Z1RNE4K             B0BKLSYJV4

       2     Alan Lee LLC           AIBGJVUUHUSFXN             B0CKV4BXZS

       3     Smokeshow Mixology     A21JLLXA56AI7B             B0C1PBNZ65

       4     Bstars US              A3G6T9J13ABHB7             B0CJNXMHC2

       5     Syjunf Smoker          A3K39K2J6Z0ZKD             B0CH7TPN4C

       6     SLSLZO                 ALFGNWIUKOJCV              B0BP187V3B

       7     ROMUCHE                ASHIUZROTNOGO              B0CGLCY64G

       8     FLYBEAST DIRECT        A1PN1D90H62TDY             B0C6F1N4T7
       9     Yuan Hang Trade        A1Y9VTBUOXJY4P             B0CGHH75WL

       10    G&J's Finest           A171F6E0MK03UO             B0C37YKQF3
       11    ClearScentCo           A1EENNXY0VX4NK             B0CHSHF39Y

       12    Destination323         A2Y2G8W7M15T2Z             B0CS4JXMFQ
       13    Gmang                  A22D4KYSK:U2JIT            B0CSDT7DDW
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      14   Fire and Finish       AH8JEN3PRXTFO         B0CL5J2QNG
      15   ecolll                A15L30FMJ6NUEZ        BOCFXZZBBH

      16   PWX-US                A1TLFK5UNES0ZU        B0CH84RWC4

      17   OIMEILE DIRECT        AXVOFZN88H4AO         B0BYNB74Q7
      18   ruidderc              A302NXKP11SZHD        B0CKZ3NRCZ

      19   MINGYAN Direct        A302NXKP11SZHD        BOCGTYKMKX

      20   qingwenshangmaohang   ASVGVRRR09R41         B09LCHNK1T

      21   ROMUCHE               ASHIUZROTNOGO         B0CGLCY64G
           MICHAEL                                     B0BP2TP1NF
           GARMENT
      22   TRADING INC           A2DNJL400C71GD
      23   Envoylei              A90BD0S1J18RV         B0CGH4C6H4

      24   Ritual Life           A1RLZEDFT0UE7Z        B0CFVWGK51

      25   LuxHous               AlOOOYHOXSELMK        B0CCK36YKS

      26   SLAM Ventures         AA02XN7C0X35W         B0BX71ZJ2F

      27   TSCOCKTAILS           ASAEOMEIIIMUP         B0CB9DLNF3

      28   Mystic Cocktails      A2S10090KW2L10        B0BX4RV4R9

      29   aoiko                 A359Z652EOHYXV        B0C2ZTZ2Z5

      30   JAPEMAKE              A175UB7IMH3545        B0CT4NGLKR

      31   Jungle Man LLC        A1HRFWW2EZ1WCI        B0CD76NQZS
      32   mollensiuer           AP0JPA0B9MY1E         B09WVJMLPP

      33   MK Lifestyles         A1LR3S84JV49LZ        B0CJ86P4T7

      34   ALITA-US              AR0ISW5T58QN4         B0CKQJB3XK
      35   maxboom               A2F4T76XAPG7VD        B0CJ4D4CL9

      36   RongHeKeJi            AGGFZ8E3PGAKV         BOCJNNCGPD

      37   DIKETONE              A2B1J7L5JHPIZA        B0CPSHS8JD

      38   jiuyishop             A257QMJ1SM0CC1        B0CSP2ZB7G

      39   Daaaaa Mai            A2CI961UPLGOWS        B0BZZ3SNFX

      40   Farxiya               A3QPW9YF1L7P2B        B0CWN9XQGW
      41   The Velvet Bow Tie    A1D2Q74PZ096EO        B0CBNL6239
      42   TroqueBrands          A5V5D8QASJGZ1         B0BVGL7WSC
      43   Fire and Finish       AH8JEN3PRXTFO         B0CL5J2QNG
      44   easybos               A1CYH9GJXPX0A0        B0CGHR3MRY
      45   aoiko                 A359Z652EOHYXV        B0C2ZTZ2Z5
                                 A184H0E3Y7CHZX         B0CVJ2ZPVT
      46   Identify Shop
      47   Top TFS               A241ERRNAIT9PD         B09PYSP1F2
           kunming-              A37KETS83CC02          B0CG8Z8F4R
           wuhuafenchui-
      48   shangmao-
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           youxiangongsi
      49   Mixology Sip Aroma    A30CRR2VF7VQU3        B0C89XWH6G

      50   ADOGO-US              ANU1X77KX94AZ         B0CPJDP3DZ

      51   MelroseLocale         AITSJRBVSQKJS         BOCNllBCQQ
      52   MIDA 2U               A1M83DQTQXCFDT        B0C857S273
                                 A1LS7RGO6P4K0E        B0C533YP52
      53   La Cava
      54   Hisueng               A1ZLEJ6HVZZV4C        B09RB1KSVT

      55   ANCHGPO               A34G1H6CW0D2KG        B0CFQC6MFH
           STALLWORTH            A1LYVNDMP31DTN        B0CFGSHN8X
      56   ENTERPRISES
      57   chsweetan             AAR138VLTS2NK         B0CS69R6MB

      58   YANGYIYY              A3GYGJLMZCUHDW        B0BVVTL73T

      59   DSKWR-USA             A3RCE03RO63T9V        B0CT3QNL99
      60   Glwobal la            A3DP1C0V3A07DX        B0CPJSKCQ7
           Trained Ready &                             BOCIHSIPZX
      61   Armed                 A2TEX2ZO2EC0N7
      62   7Grand                A341YE1S2F91J         B0B2KXG4F7
      63   Capiant               A2T190OBUKO8PG        BODIKFMMSS

      64   ECOASIS               A3M8079PWZTX22        B0C7JGY9GW

      65   Sibosen               A585L0L7O44AA         B0CQR9PY1L
      66   JAVLO                 A17BR4S62M9FE1        B0C8H91BTX

      67   LinearMarkets         A1GNXMH70EDLEG        B0CD933ZDJ
      68   heyClub               A05AGEWLJ85V1         B0BRNGT7CW

      69   SLAM Ventures               AA02XN7C0X35W   B0BX71ZJ2F

      70   Kelu                  A217DK1VQT9M8Y        B0C3C41XRY
      71   Fire and Finish       AH8JEN3PRXTFO         B0CL5J2QNG
      72   Meih-SU               A3PX2TMV5WEZ9H        B0CGVDYY22

      73   Leikedun              A2CT85FVKV6JMB        B0CHLJD762
      74   Torched Cocktails     A3P5Y93E1RD55K        B0BMW8MRHX
      75   KAERMM                A2L97F4KLZJRL6        B0CQVSM6CN
      76   LuxHous               AlOOOYHQXSELMK        B0CCK36YKS
      77   TrendySupplyStore     A3H1L5RQTOYDUF        B0B8DW7XBJ

      78   iLifeTech             A3S5DV1M7YFVE0        BOCYBHVHQK
      79   SLOW LIVING           A2XFVTJV62T026        B0CTFQV1N3
      80   ClearScentCo          A1EENNXY0VX4NK        B0CHSHF39Y
      81   RongHeKeJi            AGGFZ8E3PGAKV         BOCJNNCGPD
      82   Inka Direct           A1LFX9GC39071Z        B0CQZN93H3
      83   Oxmok-US              A1S7BWF1QD0MUX        B0CB6VXNGV
      84   Umail                 A11J1LQ0GS7UKF        B0BP9PCWZF
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      85   Destinatioii323         A2Y2G8W7M15T2Z          B0CS4JXMFQ
      86   L&A Online business     ABC5QUJ40KD1K           B0CS4ZY4D8

      87   Jungle Man LLC          A1HRFWW2EZ1WC1          B0CD76NQZS
      88   cocktail smoker kit            A3DGZ3TNHQ9UY9   B0C289W8X7




                                        ETSY.COM


             Def.   Etsy.com                 Etsy.com
              No.   Seller Name              Product ID
              89    JoannaTateMonograms      1384323003

              90    GustoByVenus             1509093195

              91    Charmboxgift             1717396430

              92    LadyLDecor               1701799886

              93    HiCloudLLC               1293884052

              94    AimingWest               1607140678

              95    buyronyx                 1598574523

              96    MakdaGifts               1720109704

              97    Shnystudio               1718257848

              98    Caretology               1210666722

              99    TantalusRex              982386960

              100   BluelineLaserWorksUS     1241347816
              101   TrendJockey              1651662607

              102   BYouByTalitha            1326620798
              103   SLichStore               1555165590

              104   HireathCo                1546887238

              105   IndigoNightStudio        1422095651

              106   FitandForge               1555264687

              107   Ghlennwood                1396797714

              108   MijMojDesign              1574427777
              108   321CustomCreations        1231061198

              109   HighlandRimEngraving      1225805978

              110   LeafhLeatherCigar         1660870014

              111   GoodVibesbuy              1654376477
              112   FOURKLEESTORE             1596587912

              113   BauerGiflsCo              1424561943
              114   SouthemEdgeTX             1310500829
              115   LoveGigiTX                1322133437
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             116   VoiceCloudCustoms      1536145137

             117   TheCraftyWarriorLLC    1308343167

             118   DreamTreeDesignsShop   1647360434

             119   LoveGigiTX             1484722532

             120   Plans4Wood             1386216122

             121   TripleBarrelled        1473875335

             122   JimmyTheMakerFlags     1395069767

             123   TorchwoodDesignCO      1643332908

             124   SouthemBeachesBtq      1337103484

             125   SnarkHeart             1329623081

             126   BlackSheepLaserWorks   1303490925
